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Sheet 1
UNITED STATES DISTRICT COURT
SOUTHERN District of IOWA
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.

Christopher James McGee
Case Number: 3:07-cr-00634-002
USM Number: 22709-424

James Bryson Clements
Defendant’s Attorney

THE DEFENDANT:
CL] pleaded guilty to count(s)

 

pleaded nolo contendere to count(s)
which was accepted by the court.

 

J was found guilty on count(s) | Counts One and Two of the Superseding Indictment
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §§ 846, Conspiracy to Distribute at Least 50 Grams of Cocaine Base 02/07/2008 One
841(b)(1)(A), 851
21 U.S.C. §§ 841(a)(1), Possession with Intent to Distribute Less Than Five Grams of 07/07/2007 Two
841(b)(1)(C), 851 Cocaine Base

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

[1 The defendant has been found not guilty on count(s)

 

[1] Count(s) Dis © are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

November 5, 2009

Date of Imposition of Judgment

 

OR, Senn
Signanufe offludge CJ Cj

John A. Jarvey, U.S, District Court Judge
Name and Title of Judge

November 5, 2009
Date

 
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Sheet 2 — Imprisonment

DEFENDANT: MCGEE, Christopher James
CASE NUMBER: 3:07-cr-00634-002

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Life imprisonment on Count One and 262 months on Count Two, both counts to be served concurrently.

& The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant be incarcerated at the Federal Correctional Institute in Oxford, Wisconsin, if consistent with
his security classification and that the defendant be made eligible for the 500 hour drug treatment program.

& The defendant is remanded to the custody of the United States Marshal.

O The defendant shall surrender to the United States Marshal for this district:

Oo at O am. Oo pm. on

 

 

O as notified by the United States Marshal.

O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O before 2 p.m. on

 

O as notified by the United States Marshal.

O as notified by the Probation or Pretrial Services Office.

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RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 — Supervised Release

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DEFENDANT: MCGEE, Christopher James
CASE NUMBER: 3:07-cr-00634-002

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Ten years on Count One and Two, both counts to be served concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

QO The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.) ,

Q The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) _ the defendant shall report to the probation officer and shal! submit a truthful and complete written report within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer; .

4) _ the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons:
6) _ the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
paraphernalia related to any controlled substances, except as prescribed by a physician;

8) _ the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) _ the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless granted permission
to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband observed in plain
view of the probation officer;

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal history or
characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with such notification requirement.

 
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Sheet 3A — Supervised Release

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DEFENDANT: MCGEE, Christopher James

CASE NUMBER: 3:07-cr-00634-002
ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall not patronize business establishments where more than fifty percent of the revenue is derived from the
sale of alcoholic beverages.

The defendant shall submit to a substance abuse evaluation. If treatment is recommended, the defendant shall participate in an
approved treatment program for drug and/or alcohol abuse and abide by all supplemental conditions of treatment.
Participation may include inpatient/outpatient treatment and random urinalysis testing, as directed by the Probation Officer.
Participation may also include compliance with a medication regimen. The defendant will contribute to the costs of services

rendered (co-payment) based on ability to pay or availability of third party payment. The defendant shall not use alcohol or
other intoxicants during and after the course of treatment.

The defendant shall submit to a search of his person, residence, adjacent structures, office or vehicle, conducted byaU.S.
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence
of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant shall warn
any other residents that the residence or vehicle may be subject to searches pursuant to this condition. This condition may be
invoked with or without the assistance of law enforcement, including the U. S. Marshals Service.

 
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Sheet 4 — Criminal Monetary Penalties

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DEFENDANT: MCGEE, Christopher James

CASE NUMBER: 3:07-cr-00634-002
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS = $ 200.00 $ 0.00 $ 0.00
The determination of restitution is deferred - An Amended Judgment in a Criminal Case (AO 245C) will be

after such determination.

(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned bayment, unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

O Restitution amount ordered pursuant to plea

C1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full

fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

() The court determined that the defendant does not have the ability to pay interest and it is ordered that:
( the interest requirement is waived for fine C1 restitution.

(1 the interest requirement for 0 fine (1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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Sheet 5 — Schedule of Payments

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DEFENDANT: MCGEE, Christopher James
CASE NUMBER: : 3:07-cr-00634-002

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties

A & _ Lump sum payment of $ _ 200.00 due immediately, balance due
O not later than , or
Oo in accordance o cc, a D, qo E,or 0 F below; or
= Payment to begin immediately (may be combined with  C, O D,or  ® F below); or
C Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D ca Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F @ _ Special instructions regarding the payment of criminal monetary penalties:

All criminal monetary penalty payments are to be made to the Clerk’s Office, U. S. District Court, P. O. Box 9344, Des Moines,
‘TA 50306-9344.

While on supervised release, you shall cooperate with the Probation Officer in developing a monthly payment plan consistent with
a schedule of allowable expenses provided by the Probation Office.

Nothing in this judgment shall be construed as a limitation on the authority of the United States to apply to the Court for a writ of
garnishment subject to the approval of the Court in accordance with the Federal Debt Collection Procedure Act, 28 U.S.C. §§3301, et seq.,

or applicable State law, during the time period that the defendant is incarcerated or under supervision pursuant to this judgment. (See 18
ULS.C. §3664(m)).

Nothing in this judgment shall be construed as a limitation or restriction on the authority of the Bureau of Prisons to require additional
payments as a condition for an assignment or for participation in any program.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(1 The defendant shall pay the cost of prosecution.
O ~The defendant shall pay the following court cost(s):

O The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
